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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

v.                                                   HON. AMIT P. MEHTA
GOOGLE LLC,

                               Defendant.


STATE OF COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

v.                                                   HON. AMIT P. MEHTA
GOOGLE LLC,

                               Defendant.


 JOINT STATUS REPORT OF THE UNITED STATES AND NON-PARTY APPLE INC.

       In accordance with the Court’s Minute Order issued on August 19, 2021, United States

Plaintiffs and Apple submit the following Joint Status Report to update the Court on their

progress concerning U.S. Plaintiffs’ codeword requests and search string negotiations.

       On August 23, 2021, U.S. Plaintiffs provided Apple with a list of 35 codeword requests.

Apple intends to respond no later than August 30, 2021. On August 23, 2021, Apple provided the

U.S. Plaintiffs with deconstructed hit reports for the 5 outstanding search strings proposed by

U.S. Plaintiffs with the highest hit counts. On August 25, 2021, the parties met and conferred on

issues related to all 9 of the outstanding search strings. As of August 26, 2021, the parties

successfully resolved all substantive issues for documents hit upon by those search strings,

including non-responsive attachments.


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